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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Louis Agre, William EWing,
Floyd Montgomery, Joy Montgomery,
and Rayman Solomon, et al.

Plaintiffs,
Civil Action No. l7-4392
v.

Thomas W. Wolf, Governor of Pennsylvania,
Pedro Cortes, Secretary of State of
Pennsylvania, and Jonathan Marks,
Commissioner of the Bureau of Elections,

in their official capacities,

Defendants.
and
Michael Turzai, Speaker of the Pennsylvania
House, and Joseph Scarnati, President

Pro Tem of the Pennsylvania Senate, in their
Offlcial capacities

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Intervenor-Defendants
NOTICE OF APPEAL

Plaintiffs Louis Agre, William Ewing, Floyd Montgomery, Joy Montgomery, Rayman
Solomon, John Gallagher, Ani Diakatos, Joseph Zebrowitz, Shawndra Holmberg, Cindy
Harmon, Heather Turnage, Leigh Ann Congdon, Reagan Hauer, Jason Magidson, Joe Landis,
J ames Davis, Ed Gragert, Ginny Mazzei, Dana Kellerman, Brian Burychka, Marina Kats,
Douglas Graham, Jean Shenk, Kristin Polston, Tara Stephenson, and Barbara Shah, through their
undersigned counsel, hereby give notice of their appeal to the Supreme Court of the United
States from the final judgment entered against the plaintiffs and in favor of all defendants in the

captioned matter on January 10, 2018 (ECF Document No. 210).

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This appeal is taken under 28 U.S.C. §1253.

Respectfully submitted this 18th day of January, 2018,

 

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CERTIFICATE OF SERVICE

I hereby certify that I have served the attached Notice of Appeal via the court electronic

filing system on all Counsel of Record.

/s/
ALICE W. BALLARD, ESQUlRE
Counsel for Plaintiff`s

Dated: 1/18!2018

